MANDATE
            Case:
              Case10-1427
                   1:07-cv-02618-DAB
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                           UNITED STATES COURT OF APPEALS
                                        FOR THE                   1:07-cv-02618-DAB
                                    SECOND CIRCUIT
                       ______________________________________________

            At a Stated Term of the United States Court of Appeals for the Second Circuit, held at the
     Daniel Patrick Moynihan United States Courthouse, 500 Pearl Street, in the City of New York,
     on the 13th day of December, two thousand and eleven.

     Before:     Dennis Jacobs,                                 USDC SDNY
                        Chief Judge,                            DOCUMENT
                 Guido Calabresi,
                 Reena Raggi,                                   ELECTRONICALLY FILED
                        Circuit Judges.                         DOC #: _________________
     __________________________________________                 DATE FILED: December 13, 2011
                                                                            _____________
     San Diego County Employees Retirement Association,

                      Plaintiff-Appellant,                       ORDER

               v.                                                Docket Number: 10-1427-cv

     Nicholas M. Maounis, Charles H. Winkler,
     Robert W. Jones, Brian Hunter, Amaranth Advisors, LLC,

                 Defendants-Appellees.
     ___________________________________________

            The parties have filed a stipulation withdrawing the above-captioned appeal with
     prejudice, without costs and without attorneys’ fees, pursuant to Federal Rule of Appellate
     Procedure 42(b).

               The stipulation hereby is so ordered.

                                                         FOR THE COURT:
                                                         Catherine O’Hagan Wolfe, Clerk




MANDATE ISSUED ON 12/13/2011
